                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF NEW YORK


 Ameriway Corporation

                                 Plaintiff,
                 v.

 May Yan Chen,                                                19-cv-09407 (VSB) (DCF)

 Ability Customs, Inc.,

                                 Defendants.


  PLAINTIFF’S MOTION TO DISQUALIFY DEFENDANTS’ COUNSEL RICHARD
SCHRIER AND WILLIAM SHAYNE, AND FOR DEFAULT JUDGMENT, DISMISSAL,
           AND ATTORNEYS’ FEES FOR FRAUD ON THE COURT

       Plaintiffs, by and through undersigned counsel, hereby move to disqualify Defendants’

counsel Richard Schrier and William Shayne in this matter for misconduct under the Model

Code of Prof’l Responsibility (Canons 1 and 9) and N.Y. Rules Prof’l Conduct Rule 8.4(c), as

well as under the “lawyer-witness rule,” N.Y. Rules Prof’l Conduct. 3.7(a). Plaintiffs also move

for default judgment, dismissal, and attorneys’ fees for fraud on the Court by Chen and her

counsel pursuant to the Court’s inherent powers. The grounds for this Motion are set forth in the

accompanying brief, filed herewith.

Dated: June 24, 2022

                                                            Respectfully submitted,



                                                    By: ________________________
                                                          Peter S. Wolfgram
                                                          Xiyan Zhang
                                                          STRATUM LAW LLC
                                                          Attorneys for Plaintiff,
                                                          Ameriway Corporation
